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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                               -----------

UNITED STATES OF AMERICA,

                   Plaintiff,                   No. 1:21-CR-40-02

             vs.                                Hon. Robert J. Jonker
                                                Chief U.S. District Judge
LEESA BETH VOGT, A/K/A/ “Lis Bokt,”
a/k/a “Moose,”

                  Defendant.
_________________________________________/

           ORDER OF FORFEITURE FOR A MONEY JUDGMENT

      The government’s Motion for an Order of Forfeiture for a Money Judgment

details the procedural and factual predicate for the entry of the requested order. The

record fully supports the recitals in the government’s motion. Accordingly, based on

all matters of record, IT IS ORDERED that:

      1.     Defendant Leesa Beth Vogt shall forfeit to the United States the sum of

$62,711 in United States currency pursuant to 31 U.S.C. § 5317.

      2.     The United States District Court shall retain jurisdiction in the case for

the purpose of enforcing this Order.

      3.     Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Order of Forfeiture shall

become final as to Defendant Leesa Beth Vogt at the time of sentencing, and shall be

made part of the sentence and included in the judgment.

      4.     This Court to retain jurisdiction over this matter for the purpose of


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amending the Order of Forfeiture to include any subsequently located substitute

assets.



      SO ORDERED.



         February 25, 2022
Dated: _____________________                /s/ Robert J. Jonker
                                          ___________________________________
                                          ROBERT J. JONKER
                                          Chief United States District Judge




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